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                                     MINUTES



CASE NUMBER:               1:20-CV-00360-RT

CASE NAME:                 Jon Abott, et al. vs. Holly T. Shikada

ATTY FOR PLA:              Alan Beck
                           Stephen Stamboulieh*

ATTY FOR DEFT:             John Price*
                           Jennifer Tran
                           Mana Moriarity


    JUDGE:      Rom Trader                  REPORTER:          ZOOM

    DATE:       10/14/2022                  TIME:              8:41 AM-8:53 AM


COURT ACTION: EP:           TELEPHONIC RULE 16 SCHEDULING CONFERENCE
                            held.

Discussion had. STAY OF PROCEEDINGS LIFTED. Parties confirm case to be
resolved on cross motions for summary judgment. Mr. Price reports Defendant
anticipates filing Rule 12 motion. Court directs parties to meet and confer regarding the
motion.

Parties agree limited additional discovery will be needed, however, uncertain whether
expert witnesses needed. While settlement appears unlikely, the parties are amenable to
settlement discussions at the appropriate time.

Court sets Telephone Conference for 1/20/2023 at 8:45 a.m. before Magistrate Judge
Trader. No submissions required. Parties and other participants must call-in at least five
(5) minutes prior to the scheduled start time of the conference. Call-in instructions are
below:

Dial in number: 1-833-568-8864 (toll-free).
Meeting ID:     161 5641 6035.

Rule 16 Scheduling Order to issue.
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Dates given:

 Trial Date:1                                                 Date
 1) Non-Jury Trial before Magistrate Judge Trader             01/23/2024 9:00 AM
                                                              Location: Courtroom 8
 Amending Pleadings:
 2) Deadline to file motions for leave to join additional     03/29/2023
 parties or to amend pleadings
 Expert Witnesses:
 Under Rule 26(a)(2), each party shall disclose the
 identity and written disclosures of any person who may
 present expert evidence:
   - 3a) Plaintiff(s) shall comply by:                        06/13/2023
   - 3b) Defendant(s) shall comply by:                        08/14/2023
 Discovery:
 5a) Discovery deadline2                                      08/28/2023
 5b) All discovery motions and letter briefs shall be filed   07/27/2023
 by
 Motions:
 6) Dispositive motions shall be filed by                     08/28/2023
 7) All other non-dispositive motions including any           10/25/2023
 motion requiring an evidentiary hearing (including
 Daubert motions) shall be filed by. This deadline does
 not include motions in limine or discovery motions.
 8a) Motions in Limine shall be filed by                      12/26/2023
 8b) Opposition Memo to a Motion in Limine shall be           01/02/2024
 filed by
 Settlement:3
 9) The Settlement Conference before Magistrate Judge         10/12/2023 10:00 AM
 Porter                                                       Location: Video Conference Hearing

 10) Confidential Settlement Conference Statements4           10/05/2023
 submitted in pdf to Magistrate Judge Porter’s Orders
 inbox by
 Trial and Final Pretrial:
 12) Final Pretrial Conference before Magistrate Judge        12/12/2023 9:00 AM
 Trader                                                       Location: Telephonic Hearing

 13) Pretrial Statements5 shall be filed by                   12/05/2023
 Other trial-related deadlines:6
   - 14) Exhibit list and demonstrative                       12/26/2023
      aids
   - 15) Final witness list                                   01/02/2024




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  - 18) Stipulations re:                                        01/02/2024
     authenticity/admissibility of
     proposed exhibits
  - 19a) Deposition excerpt                                     01/02/2024
     designations
  - 19b) Depositions counter-                                   01/09/2024
     designations and objections
  - 20) Trial Brief                                             01/09/2024
  - 21) Objections to the admissibility                         01/09/2024
     of exhibits
  - 22a) An original set of exhibits                            01/16/2024
     and two copies (all in binders) and
     a list of all exhibits shall be
     submitted to the Court by
  - 22b) Thumb drive of all exhibits                            01/16/2024
     to be submitted to the court by
 28) Final Pretrial Conference before Trial Magistrate          01/09/2024 9:00 AM
 Judge Trader                                                   Location: Telephonic Hearing

 29) Non-Jury Trials Findings of Fact & Conclusion of           01/16/2024
 Law submitted by

Other Matters

      Court sets Telephone Conference for January 20, 2023 at 8:45 AM before
Magistrate Judge Trader. No submissions required. Parties and other participants must
call-in at least five (5) minutes prior to the scheduled start time of the conference. Call-in
instructions are below.


Dial in number: 1-833-568-8864 (toll-free).
Meeting ID:       161 5641 6035.



Submitted by: Lian Abernathy, Courtroom Manager




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Information Sheet:
       1 All counsel and self-represented litigants shall proceed with diligence to take all
steps necessary to bring an action to readiness for trial. When it appears that counsel or a
self-represented party is not prosecuting the case with such diligence, the court may
impose sanctions, including dismissal of the case after notice and an opportunity to be
heard. See L.R. 16.1. The parties must file a motion or joint stipulation to continue trial
or other related deadlines. Even if by stipulation or an unopposed motion, the parties
must provide sufficient information for the court to find “good cause” for “modifying a
schedule.” Fed. R. Civ. Pro. 16(b)(4).
       2 Unless otherwise permitted by the Court, all discovery pursuant to Federal Rules

of Civil Procedure 26 through and including Rule 37 must be completed by the discovery
deadline, including all responses to discovery requests.
       3 If a consent case settles, parties shall notify chambers as soon as possible. Before

the court will vacate all dates and deadlines, counsel and parties proceeding pro se should
be prepared to place the material terms of the settlement on the record, by telephone or in
person, or submit a settlement agreement or joint letter that sets forth the material terms.
An attorney who fails to give the court prompt notice of settlement may be subject to
such discipline as the court deems appropriate.
       4 The parties are directed to Local Rule 16.5(b) for requirements of the

Confidential Settlement Conference Statement. The parties shall exchange written offers
and meet and confer to discuss settlement before the date on which settlement conference
statements are due.
       5 The parties are directed to Local Rule 16.4(b) for required contents of the pretrial

statements.
       6 Trial-related deadlines will likely differ depending on the trial judge but will

include deadlines related to: motions in limine and responses; exchange of witness and
exhibit lists; trial briefs, jury instructions, voir dire, deposition designations, the verdict
form, and, in a non-jury case, the findings of fact and conclusions of law.




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